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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF NEW YORK
                                       _____________________

                                          No 10-CR-74 (JFB)
                                       _____________________

                               UNITED STATES OF AMERICA,

                                             VERSUS


                                  GIOVANNI PRADO, ET AL.,

                                                               Defendants.


                                        ___________________

                                     MEMORANDUM AND ORDER
                                           August 5, 2011
                                        ___________________


 JOSEPH F. BIANCO, District Judge:                   violation of 18 U.S.C. § 1959(a)(5); assault
                                                     with a dangerous weapon in aid of
     On March 3, 2011, defendants Giovanni           racketeering, in violation of 18 U.S.C.
 Prado      (“Prado”),    Erick     Alvarado         1959(a)(3); threatening to commit violent
 (“Alvarado”), Elenilson Ortiz (“Ortiz”),            crimes in aid of racketeering, in violation of
 Francisco Ramos (“Ramos”), and Wilber               18 U.S.C. § 1959(a)(4); witness tampering,
 Ayala-Ardon (“Ayala-Ardon”) (collectively,          in violation of 18 U.S.C. § 1512(b)(1)-(3);
 “defendants”) were charged in a superseding         conspiracy to murder in aid of racketeering,
 indictment with a number of crimes,                 in violation of 18 U.S.C. § 1959(a)(5);
 including: racketeering and racketeering            conspiracy to commit obstruction of justice
 conspiracy (including predicate acts of             murders, in violation of 18 U.S.C. §§
 conspiracy to distribute cocaine, attempted         1512(k) and 1512(a)(3); and discharge of a
 murder, tampering with a witness and                firearm during a crime of violence, in
 bribery of a witness), in violation of 18           violation of 18 U.S.C. § 924(c)(1)(A)(ii)-
 U.S.C. §§ 1962(c) and 1962(d); conspiracy           (iii). 1 Several co-defendants with whom
 to distribute cocaine, in violation of 21
 U.S.C. § 846; assault in aid of racketeering        1
                                                       Specifically, Prado, Ortiz, and Alvarado were
 resulting in serious bodily injury, in              each charged with one count of conspiracy to
 violation of 18 U.S.C. § 1959(a)(3);                commit assault with a dangerous weapon; one
 conspiracy to commit assault in aid of              count of attempted murder; one count of assault
 racketeering with a dangerous weapon, in            with a dangerous weapon; and one count of
 violation of 18 U.S.C. § 1959(a)(6);                threatening to commit crimes of violence. Prado
 attempted murder in aid of racketeering, in         also was charged with one count of racketeering
                                                     (including the predicate acts of conspiracy to
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 these defendants originally were scheduled              contains the detailed analysis of the Court’s
 to go to trial pled guilty prior to the Court’s         decisions.
 oral decision on the government’s and
 defendant Prado’s motions.                                    I. MOTION FOR ANONYMOUS AND
                                                                PARTIALLY SEQUESTERED JURY
     Prior to trial, Ortiz and Alvarado each
 filed motions for severance. The Court                      The government has moved for the
 denied Ortiz’s motion in an oral ruling on              empanelment of an anonymous and partially
 January 10, 2011 and denied Alvarado’s                  sequestered jury.         In particular, the
 motion for substantially the same reasons in            government requests: (1) that the names,
 an oral ruling on March 17, 2011.                       addresses, and places of employment of the
 Subsequently, the government filed a motion             prospective jurors not be revealed to either
 to empanel an anonymous and partially                   the parties or their attorneys, and (2) that the
 sequestered jury. Prado and Alvarado each               jurors be directed to park in the employee
 filed a written opposition to the                       parking lot and enter and exit the courthouse
 government’s motion, and Ortiz, Ramos,                  through the employee entrance for the
 and Ayala-Ardon orally joined in this                   duration of trial. Both Prado and Alvarado
 opposition.     In addition, Prado filed a              object to the empanelment of an anonymous
 motion to change venue pursuant to Federal              jury on the grounds that jury anonymity is
 Rule of Criminal Procedure 21(a). On May                not necessary in this case and would unfairly
 26, 2011, after hearing oral argument, the              prejudice the defendants and infringe upon
 Court granted the government’s motion for               their Fifth and Sixth Amendment rights.
 an anonymous jury and denied Prado’s                    Prado also objects to partially sequestering
 motion for a change of venue, and stated                the jury during trial.
 that a written opinion would follow with a
 detailed analysis of the basis for these                    For the reasons set forth herein, the
 rulings. This Memorandum and Order                      Court grants the government’s motion in its
                                                         entirety. Specifically, the Court finds that
                                                         maintaining jury anonymity and partially
                                                         sequestering the jury as proposed by the
 distribute cocaine and attempted murder); one
 count of racketeering conspiracy; one count of          government is warranted here in light of the
 conspiracy to distribute cocaine; one count of          defendants’ and their associates’ alleged
 assault resulting in serious bodily injury. Ortiz       history of witness tampering and related
 also was charged with one count of racketeering         offenses, combined with their alleged
 (including the predicate acts of attempted              membership in a large-scale, violent gang
 murder, witness tampering, and attempted                with numerous members still at liberty—
 extortion); one count of racketeering conspiracy;       who have both the means and a
 and two counts of witness tampering. Ramos              demonstrated willingness to obstruct
 was charged with two counts of conspiracy to            justice—and given the seriousness of the
 commit assault with a dangerous weapon; one             pending charges against defendants in this
 count of assault resulting in serious bodily
                                                         case. Moreover, the Court concludes that it
 injury; one count of conspiracy to murder; one
 count of conspiracy to commit obstruction of            will be able to take reasonable precautions
 justice murders. Finally, Ayala-Ardon was               to minimize any prejudicial effects on
 charged with two counts each of attempted               defendants and to ensure that their
 murder, assault with a dangerous weapon, and            fundamental      rights    are    protected.
 discharge of a firearm during a crime of                Accordingly, the Court concludes that the
 violence.                                               use of an anonymous and partially
                                                     2
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 sequestered jury is appropriate here and will            precautions to minimize any prejudicial
 not infringe upon the defendants’                        effects on the defendant and to ensure that
 constitutional rights. 2                                 his fundamental rights are protected.’”
                                                          United States v. Stewart, 590 F.3d 93, 124
               A. Legal Standard                          (2d Cir. 2009) (quoting United States v.
                                                          Paccione, 949 F.2d 1183, 1192 (2d Cir.
     The Second Circuit has explained that                1991)).
 empaneling an anonymous jury “may be
 warranted when the jury needs protection, as                 As to the first factor, the mere invocation
 when the government has demonstrated a                   of words such as “organized crime” or
 defendant’s willingness to tamper with the               “mob” is insufficient to warrant jury
 judicial process, or when there has been                 anonymity. United States v. Vario, 943 F.2d
 extensive pretrial publicity in cases                    236, 241 (2d Cir. 1991).                Instead,
 involving allegations of violent conduct.”               “something more” must be shown, such as
 United States v. Thai, 29 F.3d 785, 801 (2d              “a demonstrable history or likelihood of
 Cir. 1994) (internal quotation marks,                    obstruction of justice on the part of the
 citations, and alterations omitted). “In such            defendant or others acting on his behalf or a
 circumstances, the use of an anonymous jury              showing that trial evidence will depict a
 does      not    infringe     a   defendant’s            pattern of violence by the defendants and his
 constitutional rights, so long as the court              associates such as would cause a juror to
 conducts a careful voir dire designed to                 reasonably fear for his own safety.” Id.
 uncover any bias as to the issues or the                 Evidence that a defendant or his
 defendants and takes care to give the jurors a           codefendants have engaged in obstruction of
 plausible and nonprejudicial reason for not              justice—which indicates a defendant’s
 disclosing their identities.” United States v.           willingness to tamper with the judicial
 Aulicino, 44 F.3d 1102, 1116 (2d Cir. 1995).             process—“has always been a crucial factor”
 In reviewing a challenge to the use of an                in determining that a jury needs protection.
 anonymous jury, a court must “balance the                Id. at 240; accord United States v. Quinones,
 defendant’s      interest    in    conducting            511 F.3d 289, 295 (2d Cir. 2007) (“We have
 meaningful voir dire and in maintaining the              identified strong reasons to believe that a
 presumption of innocence, against the jury               jury needed protection in situations where
 member’s interest in remaining free from                 the government demonstrated a defendant’s
 real or threatened violence and the public               willingness to tamper with the judicial
 interest in having the jury render a fair and            process.”).
 impartial verdict.” United States v. Amuso,
 21 F.3d 1251, 1264 (2d Cir. 1994).                           Notably, to support a finding that an
 Accordingly, “[a]s a general rule, a district            anonymous jury is warranted, obstruction of
 court may order the empaneling of an                     justice charges need not relate to prior jury
 anonymous jury upon ‘(a) concluding that                 tampering efforts, but instead may relate
 there is strong reason to believe the jury               solely to efforts to tamper with witnesses or
 needs protection, and (b) taking reasonable              otherwise obstruct the judicial process. For
                                                          example, in Quinones, defendants were
 2                                                        charged with murdering a confidential
   Based on the allegations in the government’s
                                                          informant in retaliation for his cooperation
 papers, the Court concludes in its discretion that
 an evidentiary hearing on the government’s
                                                          with law enforcement authorities. 511 F.3d
 motion is not necessary. See United States v.            at 295. Defendants argued that their conduct
 Aulicino, 44 F.3d 1102, 1116 (2d Cir. 1995).             “did not actually threaten the judicial
                                                      3
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 process,” but the Second Circuit disagreed,            motion for severance after it decided to
 noting that the murder of the witness                  empanel an anonymous jury because “there
 “threatened the judicial process both by               was no proffer of evidence linking
 eliminating a witness who could have                   [Aulicino] to any efforts to obstruct justice.”
 provided incriminating evidence against                44 F.3d at 1116. In rejecting this argument,
 defendants and by sending a powerfully                 the Second Circuit explained that “[t]here is
 frightening message to others of the terrible          a preference in the federal system for the
 consequences awaiting anyone who                       joint trial of defendants indicted together,
 cooperated in defendants’ prosecution.” Id.            making severance inappropriate unless a
 at 295-96. Accordingly, the Court held that            joint trial would compromise a trial right of
 the district court acted “well within its              the moving defendant or prevent the jury
 discretion in concluding that the defendants           from making a reliable judgment about guilt
 posed a substantial risk to the integrity of the       or innocence.”      Id.    Merely using an
 judicial process warranting empanelment of             anonymous jury, however, did not violate
 an anonymous jury.” Id. at 296; see also               Aulicino’s constitutional rights:
 Thai, 29 F.3d at 801 (upholding decision to
 empanel anonymous jury where government                   In light of our conclusion that the use
 made motion “based in large part on                       of an anonymous jury was based on
 evidence of defendants’ acts of intimidation              sufficient evidence of potential jury
 toward their crime victims, their attempts to             tampering         by        Aulicino’s
 kill certain of those victims, and the murder             coconspirators and was accompanied
 of [a victim] because of his refusal to retreat           by an adequate proffer to the jury of
 from his complaints to the police” and                    a     nonprejudicial     reason     for
 where the government “maintained that                     anonymity, we conclude that
 jurors whose identities were disclosed would              Aulicino’s due process rights were
 be at risk because [the gang] had at least 100            not violated even in the absence of
 members, many of whom were not in                         evidence that he in particular had
 custody”); Aulicino, 44 F.3d at 1116                      sought to obstruct justice.
 (anonymous jury warranted where, inter
 alia, co-conspirators allegedly sought to              Id. at 1117; see also United States v.
 bribe a witness in their federal case,                 Carneglia, 47 F. App’x 27, 32 (2d Cir.
 attempted to influence a witness in a prior            2002) (“[T]he District Court did not abuse
 state prosecution, and were caught on tape             its discretion by denying Carneglia’s
 indicating that defendant’s father would               severance motion once it determined that
 interfere with the judicial process on                 there was a strong reason for Scala’s jury to
 defendant’s behalf).                                   remain anonymous. Even if Carneglia’s
                                                        participation in the extortion and Gravano’s
     Moreover, the fact that allegations of             allegations that Carneglia has murdered in
 obstruction of justice may have been made              the past would be insufficient to justify
 only against certain co-defendants does not            empaneling an anonymous jury to decide the
 provide grounds for a severance motion for             charges against him if he were on trial alone,
 those defendants not alleged to be involved            we have held that, where one co-defendant
 in such obstruction efforts. By way of                 warrants an anonymous jury, the other co-
 example, in Aulicino, the defendant, who               defendant’s due process rights are not
 had been convicted on one count of                     violated by a refusal to sever . . . .”); United
 conspiracy to kidnap, argued on appeal that            States v. Scala, 405 F. Supp. 2d 450, 453
 the district court should have granted his             n.18 (S.D.N.Y. 2005) (same).
                                                    4
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     Furthermore, in addition to considering a        defendant was part of a large-scale violent
 defendant’s and his associates’ prior                gang with a history of murder, robbery, and
 attempts to interfere with the judicial              narcotics trafficking; (2) the gang had other
 process, courts in the Second Circuit have           members and associates who would remain
 also considered other factors in determining         at large during trial and, as such, the
 whether there is strong reason to believe that       defendant was in a position, through his
 the jury needs protection, including the             associates who remained at liberty, to
 seriousness of the crime (“including whether         interfere with the jury; (3) the defendant and
 the defendant is charged with participating          his associates had a history of interference
 in a large-scale criminal enterprise, and the        with the judicial process, including ordering
 defendant’s criminal history,” United States         a fellow prisoner to attack a corrections
 v. Wilson, 493 F. Supp. 2d 397, 398                  officer and coercing witnesses not to testify
 (E.D.N.Y. 2006)), the means of the                   or cooperate with authorities; and (4) there
 defendant and his associates to interfere with       was extensive media attention in the case.
 jurors, and the likelihood of media attention        Id. at 399-400.
 in the trial. For example, in Amuso, the
 indictment alleged that the defendant had                As another example, in United States v.
 committed crimes of “extreme violence” and           Young, 385 F. App’x 12 (2d Cir. 2010), the
 that he was the “head of a powerful crime            defendant, a purportedly low-level member
 organization.” 21 F.3d at 1264. In holding           of an organized crime family, was alleged to
 that the district court’s decision to empanel        have engaged a “horrific pattern of
 an anonymous jury was adequately                     violence,” including the murder and
 supported, the Second Circuit noted that the         dismemberment of an associate who had
 crimes charged showed not only that the              “boasted excessively.” Id. at 14 (internal
 defendant “was willing to interfere with the         quotation marks omitted). Although it was
 judicial process by murdering government             “unclear precisely what duty the family
 witnesses” but also that, as the head of an          owed to [the defendant] and to what lengths
 organized crime family, the defendant                the family might go in order to assist him,”
 certainly “had the means to interfere with           the Second Circuit nonetheless upheld the
 the jurors if he so desired.” Id. at 1264-65.        district court’s decision to empanel an
 Moreover, the Second Circuit noted that the          anonymous jury where not only had the
 district court did not improperly rely upon          government made “a sufficient showing of
 Amuso’s affiliation with organized crime,            the [organized crime] organization’s
 but instead had appropriately considered the         willingness to subvert the judicial process,”
 alleged organized crime affiliation “along           but the evidence at trial also indicated that
 with other evidence which provided a                 the defendant “was willing to subvert the
 reasonable basis from which the trial court          proceedings by inducing another to provide
 concluded that precautionary measures were           him with a false alibi,” and there was
 required.” Id. at 1265 (citations omitted).          significant media interest in the trial. Id.
                                                      (internal quotation marks and citations
     Similarly, in Wilson, the defendant was          omitted); see also United States v.
 charged with the intentional murder of two           Blackshear, 313 F. App’x 338, 342 (2d Cir.
 undercover police officers. 493 F. Supp. 2d          2008) (“We have identified several factors
 at 399. In finding that the use of an                which might be considered in deciding
 anonymous jury was warranted, the court              whether to empanel an anonymous jury.
 relied not only upon the seriousness of the          Among them are (1) the defendant’s
 offense, but also upon the fact that: (1) the        capacity to threaten jurors; (2) defendant’s
                                                  5
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 prior attempts to interfere with the judicial            on the grounds that the charges do not
 process; and (3) the likelihood of publicity.”           involve violence. It is true that no element
 (citations omitted)); Quinones, 511 F.3d at              of the charges requires proof of any
 296 (“Two other grounds cited by the                     assaultive or violent act, and it is unclear at
 government—the seriousness of the crime                  this point whether any evidence of violence
 and the likelihood of pre-trial publicity—               will be elicited at trial. But this distinction
 reinforce the district court’s decision to               misses the point. The concern in this case is
 empanel an anonymous jury.” (citations                   not that anonymity is necessary to assuage
 omitted)); Thai, 29 F.3d at 801 (empaneling              jurors’ fears for their personal safety.
 of anonymous jury was appropriate where,                 Rather, the concern is that if jurors[’]
 inter alia, “[the gang] had at least 100                 identities are revealed they can easily be
 members, many of whom were not in                        contacted and offered bribes.”).
 custody”). 3
                                                              As noted supra, once the Court
     Significantly, while the seriousness of an           concludes that there is strong reason to
 offense is a relevant consideration, the                 believe the jury needs protection, the Court
 offenses at issue need not involve violence              must then take reasonable precautions to
 for the court to conclude that an anonymous              minimize any prejudicial effects on the
 jury is warranted. See United States v.                  defendant and to ensure that his fundamental
 Locasio, 357 F. Supp. 2d 558, 561                        rights are protected. Paccione, 949 F.2d at
 (E.D.N.Y. 2005) (“The defendants seek to                 1192. Such precautions include extensively
 distinguish this case from many of those in              questioning jurors during voir dire to
 which anonymous juries have been ordered                 explore prospective jurors’ biases and
                                                          providing the jurors with a neutral
 3                                                        explanation for the anonymity that does not
   Although it is unclear whether factors such as
                                                          negatively implicate the defendants. See,
 the seriousness of an offense or extensive
 pretrial publicity, standing alone, would support
                                                          e.g., Quinones, 511 F.3d at 296 (“The
 the use of an anonymous jury, the cases cited            district court’s voir dire was sufficiently
 supra and others in this Circuit demonstrate that        detailed to compensate for jury anonymity,
 such factors undoubtedly are relevant when               and the court couched its jury instruction
 considered in conjunction with each other or in          regarding anonymity in such a way as to
 conjunction with evidence of a defendant’s               avoid intimating that defendants posed any
 willingness or ability to tamper with the judicial       risk to persons or to the judicial process.”
 process. See, e.g., Quinones, 511 F.3d at 296            (internal citations omitted)); United States v.
 (declining to decide whether seriousness of              Wong, 40 F.3d 1347, 1377 (2d Cir. 1994)
 offense and extensive publicity were sufficient,         (finding that the district court took
 standing alone, where there was also evidence of
                                                          reasonable precautions where it “questioned
 defendants’ willingness to subvert the judicial
 process); United States v. Paccione, 949 F.2d
                                                          prospective jurors about their familiarity
 1183, 1192-93 (2d Cir. 1991) (upholding district         with the case, the defendants and the crime
 court decision to preserve jury anonymity given,         scenes,     and     inquired    about      their
 inter alia, “the serious nature of the charges and       neighborhoods, marital status, employment,
 the potential for long prison terms and high             spouse’s and children’s employment,
 monetary       penalties,”     and     defendants’       education,      organizational     affiliations,
 membership and strong ties to organized crime,           ethnicity, military service, and other
 as well as defendants’ alleged involvement in            matters,” which “was more than sufficient to
 the murder of a co-defendant and other acts of           enable the defendants to exercise their
 witness tampering).                                      challenges meaningfully, and to obtain a fair
                                                      6
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 and impartial jury” (internal quotation marks        regarding the assaults allegedly committed
 and citations omitted)); Paccione, 949 F.2d          against him and others by Prado, Alvarado,
 at 1193 (“We see no inadequacy in the                and Ortiz. (Id. Count 40.) Ortiz is also
 procedural precautions taken by the court to         charged with racketeering, with the alleged
 prevent prejudice to the defendants as a             attempted murder, tampering, and bribery of
 result of the anonymity of the jurors.               John Doe #6, among other things, as
 Defendants do not contend that the voir dire         predicate acts (id. Count 1), and is alleged to
 was in any way inadequate. The court also            have tampered with another witness in
 adequately instructed the jury at the outset         connection with a separate incident (id.
 of the trial that the special precautions were       Count 67). Ramos also is charged with an
 designed to protect the jury from contacts by        obstruction-related     offense,       namely,
 the media, thereby implying that the security        conspiracy to commit obstruction of justice
 measures were not the result of threats from         murders of three individuals. (Id. Count 69.)
 the defendants.”).                                   Finally, Ayala-Ardon also is charged with
                                                      several serious crimes, including attempted
                B. Application                        murder, assault with a dangerous weapon,
                                                      and discharge of a firearm during a crime of
     As noted supra, defendants are charged           violence.
 with a number of serious offenses stemming
 from their alleged involvement in La Mara                As an initial matter, these charges
 Salvatrucha (“MS-13”), a street gang that            plainly are serious charges—the majority of
 the government contends is involved in a             which involve the use of violence—that
 variety of violent, criminal acts, including         support the Court’s conclusion that the use
 murder, attempted murder, narcotics                  of an anonymous jury is appropriate in this
 trafficking, extortion, witness tampering,           case. See, e.g., Quinones, 511 F.3d at 296
 and witness retaliation.         (See Third          (“[T]he seriousness of the crime . . .
 Superseding Indictment (“S-3”) ¶¶ 1-2.)              reinforce[s] the district court’s decision to
 Specifically, Prado, Alvarado, and Ortiz are         empanel an anonymous jury.”); Wilson, 493
 jointly charged with conspiring to assault           F. Supp. 2d at 399 (“[T]he Defendant is
 and attempting to murder, in aid of                  charged with intentionally murdering two
 racketeering, an unidentified individual             police officers in an attempt to obstruct
 (referred to in the Third Superseding                justice. These charges are of the utmost
 Indictment as “John Doe #6”), in connection          seriousness, indeed as serious as any charge
 with a November 2009 assault on John Doe             can be, and demonstrate both the extreme
 #6 with a baseball bat. (Id. Counts 36-38.)          dangerousness of the defendant and a
 Prado, Alvarado, and Ortiz are also charged          willingness to obstruct justice. Based on
 with conspiring to assault and threatening to        these charges alone, I would seriously
 commit crimes of violence, in aid of                 consider empaneling an anonymous jury.”).
 racketeering, against other individuals,             Although defense counsel argues that these
 namely, “John Doe #7” and “John Doe #8.”             charges do not demonstrate that jurors
 (Id. Counts 36, 39.) In addition, particularly       would be at risk because “there is apparently
 relevant for the current motion, Ortiz is            no evidence that the Defendants were ever
 charged with witness tampering for                   violent to anyone who was not either a
 threatening John Doe #6 in an attempt to             member of MS-13 or of a rival gang” (Prado
 coerce John Doe #6 into not testifying               Mem. of Law at 5 n.5), this argument is
 before the Grand Jury and not providing law          unavailing. In fact, contrary to Prado’s
 enforcement officials with information               contention, the government asserts that John
                                                  7
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 Doe #6 (the victim of Prado, Alvarado, and                   In any event, even more important for
 Ortiz’s alleged assault and the target of                purposes of the government’s motion than
 Ortiz’s witness tampering efforts) and John              the serious and violent nature of the crimes
 Doe #8 (another alleged assault victim of                charged in the indictment is the fact that
 Prado, Alvarado, and Ortiz) were not                     defendants and their associates have evinced
 members of any street gang. (Gov’t Reply                 a clear willingness to interfere with the
 at 11.) Moreover, many of the victims of                 judicial process. As already described, Ortiz
 the crimes charged in the indictment against             not only is charged with witness tampering,
 various other alleged MS-13 members also                 but, in fact, is charged with tampering with
 were not members of any gang. (See id.                   one of the victims whom Prado, Alvarado,
 (noting that John Doe #11, Jane Doe #1,                  and Ortiz are charged with allegedly
 Jane Doe #2, and other victims were not                  attempting to murder.        Ramos is also
 members of any gangs).) 4                                charged with conspiring to murder three
                                                          individuals—two of whom, according to the
 4
                                                          government, were not members of any
    Defense counsel also argues that “[a]llowing          gang—to prevent these individuals from
 the level of criminal allegations to drive the
                                                          cooperating with law enforcement and
 Court’s deliberation in consideration of the
 government’s request for an anonymous jury . . .         testifying regarding assaults committed by
 would be to allow the tail to wag the dog.”              Ramos, Prado, and other MS-13 members.
 (Prado Mem. of Law at 5.) This argument,                 As noted supra, the fact that Prado,
 however, ignores the clear precedent in this             Alvarado, and Ayala-Ardon were not
 Circuit establishing that the seriousness of the         individually charged with witness tampering
 charges a defendant is facing is a relevant              does not alter the Court’s conclusion that the
 consideration in deciding whether to empanel an          use of an anonymous jury is appropriate
 anonymous jury. See, e.g., Quinones, 511 F.3d            here, particularly in light of the fact that
 at 296; Wilson, 493 F. Supp. 2d at 399.                  Prado, Alvarado, and Ayala-Ardon are
 Furthermore, Prado contends that the “laundry            alleged to be part of, or to have aided, the
 list” of serious charges in this case was
                                                          same racketeering enterprise. See, e.g.,
 “designed to frighten and intimidate the trial
 jury” and that no jury, “when faced with this            Aulicino, 44 F.3d at 1117 (“In light of our
 daunting list of charges, would return not guilty        conclusion that the use of an anonymous
 verdicts against all defendants on all charges.”         jury was based on sufficient evidence of
 (Prado Mem. of Law at 5.) Prado even goes so             potential jury tampering by Aulicino’s
 far as to argue that the intent of the government        coconspirators and was accompanied by an
 in bringing these charges was “to instill fear in        adequate proffer to the jury of a
 the jury in order to more reliably secure                nonprejudicial reason for anonymity, we
 convictions.” (Id. at 6.) This argument is               conclude that Aulicino’s due process rights
 plainly without merit. There is no indication            were not violated even in the absence of
 whatsoever that the government brought these             evidence that he in particular had sought to
 charges in bad faith, or that the charges were
                                                          obstruct justice.”).
 brought for any purpose other than convicting
 defendants for crimes which the government
                                                              Moreover, other alleged members of
 believes defendants committed. In the absence
 of any evidence to the contrary, the Court rejects       defendants’ gang, with whom defendants
 any contention that the government acted                 originally were scheduled to go to trial, were
 improperly here and, accordingly, the Court              charged with witness tampering involving
 rejects Prado’s argument that the seriousness of         the alleged victims of Prado, Alvarado, and
 the charges he is facing should play no role in          Ortiz’s crimes, as well as other victims, and
 the Court’s analysis.                                    have already pled guilty to these offenses.
                                                      8
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 For example, defendant Emilio Saballos                      The Court finds that these allegations of
 pled guilty to racketeering and admitted to             witness tampering and witness retaliation
 committing witness tampering involving                  demonstrate a clear willingness on the part
 John Doe #7 and John Doe #8—whom                        of some of the defendants and the enterprise
 Prado, Alvarado, and Ortiz allegedly
 conspired and threatened to assault (see S-3            these allegations in reaching its holding here.
 Counts 36, 39) and who allegedly witnessed              See Locasio, 357 F. Supp. 2d at 562 (“The
 the purported assault of John Doe #6 (Gov’t             government points to other information
 Reply at 5-6)—on behalf of the MS-13 gang               establishing the dangerousness of the
 and in an attempt to prevent cooperation                defendants. Much of the proffer, however,
 with law enforcement officials. (See Docket             carries little, if any, weight due to the failure of
 Entry 467.) In addition, defendant Jose                 the government to provide adequate support for
 Salazar Erazo pled guilty to witness                    its allegations. The Court declines to rely upon
                                                         ‘confidential source information’ where there is
 retaliation in connection with the alleged
                                                         no indication of the reliability of such
 assault of John Doe #7. (See Docket Entry               information.”). Nevertheless, the Court finds
 324.)      During his guilty plea, Erazo                that both the charges in the indictment and the
 allocuted that the baseball bat assault of              guilty pleas of co-defendants in this case are
 John Doe #7 was committed in retaliation                more than sufficient, for purposes of the pending
 for John Doe #7’s perceived cooperation                 motion, to provide “strong reason” to believe
 with the government in connection with the              that defendants and their associates are willing
 attempted murder and assault of John Doe                to obstruct justice and that the jury here needs
 #6. (Gov’t Reply at 6.) 5                               protection. Thus, to the extent that defendants
                                                         are arguing that all of the government’s
                                                         allegations (including those in the superseding
 5                                                       indictment) are unfounded and should be
   The government also indicated that they would
                                                         disregarded, the Court disagrees. What crimes a
 present evidence at trial that Ortiz threatened
                                                         defendant has been charged with in an
 another inmate at the Nassau County
                                                         indictment and whether any co-defendants have
 Correctional Center whom Ortiz believed to be
                                                         pled guilty to obstruction-related charges are
 cooperating with law enforcement.          (Gov’t
                                                         both relevant and appropriate considerations in
 Reply at 7.) Additionally, the government
                                                         determining whether to empanel an anonymous
 asserts that “multiple witnesses at trial will
                                                         jury. See, e.g., Quinones, 511 F.3d at 295
 testify about additional incidents of witness
                                                         (“Defendants submit that there was no basis for
 tampering and witness retaliation directed at
                                                         the district court’s finding that they posed a
 them and their families, which are not charged in
                                                         substantial risk to the judicial process. The
 the indictment.” (Gov’t Mem. of Law at 5.)
                                                         record is plainly to the contrary. The indictment
 Defendants raise a general objection to these and
                                                         specifically charged defendants with murdering
 other allegations in the government’s papers,
                                                         a confidential informant in retaliation for his
 arguing that the allegations the government
                                                         cooperation with law enforcement authorities.”);
 relies upon in its motion are vague and
                                                         Locasio, 357 F. Supp. 2d at 561-62 (anonymous
 unsupported and, thus, should be disregarded by
                                                         jury warranted where, inter alia, defendant was
 the Court. (See, e.g., Prado Mem. of Law at 7-9;
                                                         indicted for witness tampering and thus the
 Alvarado Letter at 6.) Prado also objects to the
                                                         “grand jury found probable cause to believe that
 government’s reliance on the potential testimony
                                                         these payments were made ‘knowingly and
 of the “multiple witnesses” on the ground that
                                                         intentionally . . . to corruptly persuade’ the
 such evidence is neither relevant nor admissible.
                                                         witness not to communicate information to law
 (Prado Mem. of Law at 8-9.) First, as to the
                                                         enforcement officers about the very case before
 claims regarding Ortiz’s actions at the jail or
                                                         the Court,” and co-defendant had pled guilty to
 what testimony certain unidentified witnesses
                                                         obstruction of justice).
 might provide, the Court has not relied upon
                                                     9
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as a whole to interfere with the judicial               as requested by the Government.”). In
system and weigh strongly in favor of                   addition, despite defendants’ argument to
empaneling an anonymous and partially                   the contrary, the fact that these incidents did
sequestered jury. See, e.g., Vario, 943 F.2d            not involve jurors, but instead related to
at 239-40 (“We are satisfied that two                   witnesses, does not change the Court’s
circumstances surrounding this case, the                conclusion. See Quinones, 511 F.3d at 295-
grand jury tampering charge and the                     96 (murder of a confidential informant
expected publicity, justified the trial court’s         “threatened the judicial process both by
decision to empanel an anonymous jury. . . .            eliminating a witness who could have
An obstruction of justice charge, particularly          provided incriminating evidence against
one involving jury tampering, has always                defendants and by sending a powerfully
been a crucial factor in our decisions                  frightening message to others of the terrible
regarding anonymous juries.            Although         consequences awaiting anyone who
Vario may not have personally spoken to the             cooperated in defendants’ prosecution”);
grand jury witness, his co-conspirator took             accord Blackshear, 313 F. App’x at 343
the act in furtherance of the conspiracy.               (“Although none of [defendant’s] prior
Since it is a fundamental tenet of the law of           incidents involved jurors, he consistently
conspiracy that reasonably foreseeable acts             attempted to obstruct justice—by bribing
of individual co-conspirators taken in                  witnesses and by intimidating witnesses. . . .
furtherance of the conspiracy count against             It does not seem unreasonable to infer that
all members equally, Vario’s argument is                jurors might also be threatened.”).
unavailing.” (citations omitted)); United
States v. Tutino, 883 F.2d 1125, 1132-33 (2d                Furthermore, as to the defendants’
Cir. 1989) (empanelment of anonymous jury               means to interfere with the judicial process,
was justified where defendants had serious              defendants are alleged to be members of
criminal records and a history of jury                  MS-13, which the government contends is a
tampering, as evidenced by affidavits                   large-scale    criminal    enterprise     with
submitted by three jurors who had been                  members located not only throughout Long
approached in connection with a prior                   Island and Queens, but also throughout the
narcotics case and evidence that one of the             United States and in Central America. (See
defendants was personally involved in jury              S-3 ¶ 1; Gov’t Mem. of Law at 4.) As
tampering); Wilson, 493 F. Supp. 2d at 400              demonstrated by the witness tampering and
(“The [affidavit submitted by the                       retaliation offenses to which several
government] attests to the Defendant’s and              defendants in this case have already pled
his associates’ history of interference with            guilty, the members of MS-13 plainly have
the judicial process. Specifically, while the           the means and a willingness to interfere with
Defendant was in state custody . . .                    the judicial system. Moreover, according to
[defendant] ordered another prisoner to                 the government, many of MS-13’s leaders
attack a corrections officer and the other              and members remain at liberty on Long
prisoner did so.         Moreover, there are            Island (see Gov’t Mem. of Law at 4) and,
instances      of     [defendant’s]     criminal        thus, would have the ability to interfere with
associates having attempted to coerce                   defendants’ trial.       Additionally, the
witnesses not to testify or cooperate with              government has presented strong reason to
authorities . . . . This history of interference        believe that the members of MS-13 are
with the judicial process also warrants the             willing and able to engage in violent
use of an anonymous, semi-sequestered jury,             criminal behavior: in addition to the serious
                                                        charges outlined supra against Prado,
                                                   10
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Alvarado, Ortiz, Ramos, and Ayala-Ardon,                willingness to corrupt and obstruct the
fifteen other defendants in this case have              criminal justice system, and the extensive
been charged with one or more murders in                publicity this case is expected to continue to
aid of racketeering and other related                   attract” (internal quotation marks omitted));
offenses. (See generally S-3.) Although a               Wilson, 493 F. Supp. 2d at 399-400 (“[I]n
history of violent behavior is not required to          addition to the charges of murdering [two
empanel an anonymous jury, evidence of                  police officers], the indictment also alleges
such a history is relevant to the Court’s               that the Defendant is part of a criminal
analysis. Taken together, the Court finds               enterprise known as the “Stapleton Crew,” a
that these allegations—namely, that the                 violent organization that engages in acts of
defendants are members of a large-scale                 robbery, murder and narcotics trafficking. . .
criminal enterprise with a history of                   . In short, the Defendant’s criminal history
violence, a demonstrated willingness and                and his participation in a large scale criminal
ability to tamper with the judicial process,            enterprise without question show that he is
and numerous members still at liberty—                  dangerous and weigh heavily in favor of
weigh strongly in favor of jury anonymity.              using an anonymous, partially-sequestered
See Thai, 29 F.3d at 801 (upholding decision            jury in this trial.”); Locasio, 357 F. Supp. 2d
to empanel anonymous jury where                         at 562 (“The organized crime status of the
government made motion “based in large                  defendants, although not alone sufficient to
part on evidence of defendants’ acts of                 support empaneling an anonymous jury, is
intimidation toward their crime victims,                plainly not irrelevant.        The indictment
their attempts to kill certain of those victims,        charges that Richard Martino was a soldier
and the murder of [a victim] because of his             in the Gambino crime family and that
refusal to retreat from his complaints to the           Locasio was a capo. Thus Martino, who
police” and where the government                        himself has shown a willingness to corrupt
“maintained that jurors whose identities                the judicial process, also has strong and
were disclosed would be at risk because [the            influential ties to an organization whose
gang] had at least 100 members, many of                 members have a documented history of
whom were not in custody”); Amuso, 21                   seeking to tamper with juries and who could
F.3d at 1264-65 (district court properly                provide the support necessary to achieve that
granted motion for anonymous and                        objective.”); accord Young, 385 F. App’x at
sequestered jury where defendant was                    14 (although it was unclear what lengths
charged with crimes of “extreme violence”               organized crime family might go to in order
and “[t]he crimes charged also showed that              to assist a low-level member, empaneling an
Amuso was willing to interfere with the                 anonymous jury was warranted where the
judicial process by murdering government                government made a “sufficient showing” of
witnesses and, as head of the Luchese crime             the family’s “willingness to subvert the
family, it was certainly reasonable to expect           judicial process” and evidence at trial also
that Amuso had the means to interfere with              indicated the defendant was willing to
the jurors if he so desired”); United States v.         “subvert the proceedings by inducing
Persico, 832 F.2d 705, 717 (2d Cir. 1987)               another to provide him with a false alibi”).
(upholding decision to empanel an
anonymous jury where district court based                   Accordingly, the Court finds that the
its decision on “the violent acts alleged to            government has alleged “something more”
have been committed in the normal course                here than a mere link to organized criminal
of Colombo Family business, the Family’s                activity or a gang, and instead has made a
                                                        showing of “a demonstrable history or
                                                   11
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likelihood of obstruction of justice on the                   Having reached this conclusion, the
part of the defendant or others acting on his             Court must take “reasonable precautions to
behalf [and] a showing that trial evidence                minimize any prejudicial effects on the
will depict a pattern of violence by the                  defendant and to ensure that his fundamental
defendants and his associates such as would               rights are protected.” Stewart, 590 F.3d at
cause a juror to reasonably fear for his own              124. Defendants argue, however, that no
safety.” Vario, 943 F.2d at 241. Thus, the                such precautions exist and that granting the
Court concludes that there is a “strong                   government’s motion for an anonymous and
reason to believe that the jury needs                     partially sequestered jury will violate
protection” in this case. Stewart, 590 F.3d               defendants’ Fifth Amendment right to due
at 124; accord United States v. Thomas, 757               process and Sixth Amendment right to an
F.2d 1359, 1364-65 (2d Cir. 1985) (“The                   impartial jury.     Specifically, defendants
circumstances of this case support the trial              contend that, regardless of any explanation
judge’s decision to impanel an anonymous                  given to the jurors by the Court, the jurors
jury. The defendants were alleged to be                   inevitably will know that they are being
very dangerous individuals engaged in                     protected from the defendants, and they
large-scale organized crime who had                       consequently will be biased against the
participated in several ‘mob-style’ killings.             defendants from the start of trial. (Prado
Charges in the indictment accused                         Mem. of Law at 12-13; Alvarado Letter at
defendants of attempts to interfere with the              3.)
judicial process by murdering government
witnesses. . . . [T]here was strong evidence                  The     Court      rejects   defendants’
of defendants’ past attempts to interfere with            arguments. As an initial matter, it is well-
the judicial process, and defendants were                 established that “‘when genuinely called for
alleged to be part of a group that possessed              and when properly used, anonymous juries
the means to harm jurors.”). 6                            do not infringe a defendant’s constitutional
                                                          rights.’” Thai, 29 F.3d at 800-01 (quoting
6
                                                          Vario, 943 F.2d at 239.) Thus, to the extent
   The Court notes that, although the media               defendants are arguing that the use of an
interest in this case has not been overwhelming,          anonymous jury will automatically bias the
there nevertheless have been a number of press            jury pool by creating “an atmosphere of fear
reports related to the charges in this indictment.
                                                          and intimidation,” 7 that argument is without
(See Gov’t Mem. of Law at 10 n.10 (citing
articles).) Thus, while this factor does not weigh
                                                          become public and thus expose them to
as heavily in the Court’s analysis as the factors
                                                          intimidation by defendants’ friends or enemies,
discussed above, the existence of such pre-trial
                                                          or harassment by the public. At the time of the
publicity does provide further support for the
                                                          government’s anonymous jury motion in the
Court’s decision to empanel an anonymous and
                                                          district court, New York Newsday had recently
partially-sequestered jury. See Quinones, 511
                                                          published a cover story about the case entitled
F.3d at 296 (“[T]he likelihood of pre-trial
                                                          The Mob and Local 66. . . . Although no
publicity . . . reinforce[s] the district court’s
                                                          publicity followed this initial article, we cannot
decision to empanel an anonymous jury.”
                                                          say that at the time that the anonymous jury
(collecting cases)); Vario, 943 F.2d at 240
                                                          motion was made, the government’s prediction
(“Vario also argues that the publicity
                                                          that publicity would continue was unreasonable
surrounding this case was so minimal that it did
                                                          or unjustified.” (internal quotation marks
not warrant an anonymous jury.            We are
                                                          omitted)).
unpersuaded. Pre-trial publicity may militate in
                                                          7
favor of an anonymous jury because it can                  See Prado Mem. of Law at 12; Alvarado Letter
enhance the possibility that jurors’ names would          at 3.
                                                     12
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merit. Indeed, the Second Circuit has                    Court does not find that this trial presents
repeatedly held that a defendant’s                       such unique circumstances that the
presumption of innocence is properly                     instructions typically used for an anonymous
maintained where the court gives a neutral               jury will not suffice to guard against any
and non-prejudicial explanation to the jury              undue prejudice or bias against defendants
regarding the need for anonymity. See, e.g.,             here.
Thai, 29 F.3d at 801 (“In order to provide a
nonprejudicial reason for maintaining                        Prado also objects to the use of an
anonymity, the introduction to the                       anonymous jury on the ground that it will
questionnaire stated, with the approval of               prevent him from meaningfully exercising
the parties, that ‘[s]electing an anonymous              his peremptory challenges during jury
jury is not an unusual practice and has been             selection. In particular, Prado contends that
followed in many cases in Federal Court.                 “[i]n light of counsel’s access to the internet
Anonymity will ward off curiosity that                   and its many tools of investigation and
might infringe on a juror’s privacy. . . .’ . . .        research, not having the name or address of
[T]he court’s questionnaire properly                     the prospective jurors is a distinct
protected defendants’ interests both in the              disadvantage to counsel in analyzing the
selection of unbiased jurors and in the                  jurors’ suitability for a case of this
proffer of a nonprejudicial reason for the               nature. . . .” (Prado Mem. of Law at 10.)
preservation of juror anonymity. We find no              The Court, however, finds this argument to
abuse of discretion in the use of an                     be without merit and, instead, finds that the
anonymous jury in the present case.”);                   defendants’ right to a fair and impartial jury
Paccione, 949 F.2d at 1193 (“We see no                   will be sufficiently protected by a careful
inadequacy in the procedural precautions                 and searching voir dire, which will be
taken by the court to prevent prejudice to the           designed to uncover bias and consequently
defendants as a result of the anonymity of               will allow defendants to meaningfully
the jurors. . . . The court . . . adequately             exercise their challenges. See Aulicino, 44
instructed the jury at the outset of the trial           F.3d at 1116 (where otherwise warranted,
that the special precautions were designed to            “the use of an anonymous jury does not
protect the jury from contacts by the media,             infringe a defendant’s constitutional rights,
thereby implying that the security measures              so long as the court conducts a careful voir
were not the result of threats from the                  dire designed to uncover any bias as to the
defendants.”); Tutino, 883 F.2d at 1133                  issues of the defendants and takes care to
(holding that “any risk that the                         give the jurors a plausible and
empanellment [sic] of an anonymous jury                  nonprejudicial reason for not disclosing their
might deprive defendants of the presumption              identities” (citations omitted)); Vario, 943
of innocence was minimized by Judge                      F.2d at 241-42 (“[T]he district court
Leval’s instructions to prospective jurors” in           conducted a searching voir dire which
which the district court stated, in pertinent            sufficiently enabled Vario to exercise his
part, “‘It is a common practice followed in              challenges meaningfully and to obtain a fair
many cases in the Federal court to keep the              and impartial jury.” (citations omitted));
names and identities of the jurors in                    Tutino, 883 F.2d at 1133 (“Judge Leval
confidence. This is in no way unusual. It is             conducted an extensive and thorough voir
a procedure being followed in this case.’”).             dire. Although the jurors’ names, addresses,
Defendants have made no attempt to                       and places of employment were withheld,
distinguish these cases and, indeed, the                 the jurors were questioned about their
                                                         neighborhoods, marital status, employment,
                                                    13
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spouse’s and children’s employment,                   anonymity in such a way as to avoid
education, ethnic background, military                intimating that defendants posed any risk to
service,     and,    optionally,     religious        persons or to the judicial process.” (internal
background, among other things.           This        citations omitted)).
probing inquiry was more than sufficient to
enable the defendants to exercise their                   Finally, the Court finds that the same
challenges meaningfully, and to obtain a fair         reasons that warrant the use of an
and impartial jury.”); cf. United States v.           anonymous jury also warrant partial
Barnes, 604 F.2d 121, 140 (2d Cir. 1979)              sequestration of the jury in the manner
(“As long as a defendant’s substantial rights         proposed by the government. Cf. Gotti, 459
are protected by a voir dire designed to              F.3d at 346 (jury anonymity and partial
uncover bias as to issues in the cases and as         sequestration were proper where defendants
to the defendant himself, then reasonable             were charged with membership in a
limitations on the questioning should not be          powerful       organized     crime      family,
disturbed on appeal.”).                               defendants included the head of the family
                                                      and a captain in the family, indictment
    Thus, the Court finds that it will be able        charged two defendants with witness
to take adequate precautions—namely, by               tampering, and there was expected to be
giving the jury a neutral explanation for the         intense media coverage); Locasio, 357 F.
precautionary measures and by conducting a            Supp. 2d at 563 (granting motion for
detailed voir dire—to protect defendants              anonymous and partially sequestered jury in
from any undue prejudice stemming from                light of “the seriousness of the charges, the
the use of an anonymous and partially                 lengthy prison sentences that convictions
sequestered jury. See United States v. Gotti,         would entail, the evidence of Martino’s
459 F.3d 296, 345 (2d Cir. 2006) (“Gotti              efforts to interfere with the judicial process,
does not argue that reasonable precautions            and the ability of the defendants to enlist the
were not taken to minimize prejudicial                resources of the Gambino crime family, an
effects. Nor can he, as the precautions set           organization with a documented history of
forth in Paccione—conducting a thorough               juror intimidation”).        Although Prado
voir dire and providing the jurors with a             contends that allowing the jurors to park in
plausible and nonprejudicial reason for not           the employee lot and use the employee
disclosing their identities—were followed             entrance will unduly prejudice him, the
here. The district court made use of a juror          Court finds that such prejudice can be
questionnaire that was jointly submitted, and         avoided through the use of the same neutral
instructed the jury that the special                  instruction that will be given to the jury
precautions had been implemented to protect           regarding anonymity. See Amuso, 21 F.3d at
them from the inquiring media.” (internal             1265 (“In effectuating its sequestration
citation omitted)); Quinones, 511 F.3d at             order, the court told the jury that
296 (“Defendants do not contend that the              sequestration was necessary to protect the
district court failed to take adequate                jury from being tainted by pretrial publicity.
procedural precautions to ensure that they            By giving the jury a neutral explanation for
were not prejudiced by the selection of an            why sequestration was necessary, the court
anonymous jury, nor would the record                  decreased the probability that the jury would
support such an argument. The district                infer that Amuso was guilty or even
court’s voir dire was sufficiently detailed to        dangerous,       thereby    preserving      the
compensate for jury anonymity, and the                presumption of innocence.”). Moreover, the
court couched its jury instruction regarding          Court notes that the Second Circuit and
                                                 14
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other district courts have authorized the use          obtain a fair trial here. For the reasons set
of sequestration measures that were far more           forth below, the Court finds that defendant
intrusive and extensive than those proposed            has failed to establish that any alleged ethnic
here. See, e.g., Blackshear, 313 F. App’x at           bias in the community is so pervasive and
342-43 (affirming district court decision to           prejudicial that it has created a reasonable
empanel anonymous jury and to order that               likelihood that a fair trial could not be
the jurors eat lunch together and be                   conducted in the Eastern District of New
accompanied in and out of the courthouse by            York, and the Court accordingly denies
U.S. Marshals to avoid mingling in the                 defendant’s motion to change venue.
courthouse); Wilson, 493 F. Supp. 2d at 400
(ordering that jury be sequestered as they                           A. Legal Standard
travel to and from the courthouse and during
recesses); Locasio, 357 F. Supp. 2d at 564                 “The Sixth Amendment secures to
(ordering that the jurors be picked up from            criminal defendants the right to a trial by an
and dropped off at “an undisclosed central             impartial jury.” Skilling v. United States, ---
location” and transported to and from the              U.S. ----, 130 S.Ct. 2896, 2912-13 (2010).
courthouse by United States Marshals each              Although criminal trials generally occur,
day, and that the jurors be “escorted by the           “[b]y constitutional design, . . . ‘in the State
United States Marshals to and from any                 where the . . . Crimes . . . have been
locations at which they may recess for                 committed,’” id. at 2913 (quoting U.S.
lunch, when they are not lunching in the jury          Constit. art. III, § 2, cl. 3 and citing U.S.
room”). Thus, given the strong reason to               Constit. amend. VI), “[t]he Constitution’s
believe in this case that the jury needs               place-of-trial prescriptions . . . do not
protection, as discussed supra, the Court              impede transfer of the proceeding to a
finds that allowing the jurors to park in the          different district at the defendant’s request if
employee parking lot and to use the side               extraordinary local prejudice will prevent a
entrance of the courthouse are modest and              fair trial—a ‘basic requirement of due
appropriate measures here to ensure the                process.’” Id. (quoting In re Murchison, 349
protection of the jurors and the integrity of          U.S. 133, 136 (1955)). Where a defendant
trial. As noted above, the Court also finds            raises a constitutional challenge to the venue
that the defendants’ right to a trial by a fair        of his trial prior to jury selection, he “must
and impartial jury can be adequately                   make a showing of presumed prejudice,
protected through the use of a neutral and             arising when ‘prejudicial publicity so
non-prejudicial instruction to the jury.               pervades or saturates the community as to
                                                       render virtually impossible a fair trial by an
    Accordingly, the Court grants the                  impartial     jury      drawn     from      that
                                                                      8
government’s motion for an anonymous and               community.’” United States v. Volpe, 42 F.
partially sequestered jury in its entirety.
                                                       8
                                                          The Court notes that, typically, motions to
    II. MOTION FOR CHANGE OF VENUE                     change venue are based, at least in part, on
                                                       allegations that extensive pre-trial publicity has
   Prado has moved for a change of venue               tainted the jury pool.        Here, in contrast,
pursuant to Federal Rule of Criminal                   defendant has not argued that a change of venue
Procedure 21(a) on the ground that anti-               is warranted due to prejudicial publicity. In fact,
Hispanic bias allegedly has pervaded the               defendant argued, in opposition to the
                                                       government’s motion for an anonymous jury,
communities in Nassau and Suffolk
                                                       that this case had garnered relatively little media
Counties to such an extent that he cannot              attention. (See, e.g., Prado Mem. of Law at 12
                                                  15
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Supp. 2d 204, 216 (E.D.N.Y. 1999) (quoting                   impartiality, we have reiterated, does
Mayola v. Alabama, 623 F.2d 992, 997 (5th                    not require ignorance.              A
Cir. 1980)); cf. Murphy v. Florida, 421 U.S.                 presumption of prejudice, our
794, 803 (1975) (Court unable to conclude                    decisions indicate, attends only the
that defendant did not receive a fair trial                  extreme case.
where he “failed to show that the setting of
the trial was inherently prejudicial or that              Skilling, 130 S.Ct. at 2914-15 (internal
the jury-selection process of which he                    quotation marks, citations, alterations, and
complains permits an inference of actual                  footnotes omitted) (emphasis in original).
prejudice”). “Cases presenting this scenario
are very rare, however, and have been                         Moreover, in addition to raising a
characterized . . . as ‘extreme situation[s].’”           constitutional challenge to venue, a
United States v. Sabhnani, 599 F.3d 215,                  defendant may move to change venue
233 (2d Cir. 2010) (quoting United States v.              pursuant to Federal Rule of Criminal
Campa, 459 F.3d 1121, 1143 (11th Cir.                     Procedure 21, which provides, in pertinent
2006) (en banc)).        Indeed, as recently              part, that “[u]pon the defendant’s motion,
explained by the Supreme Court,                           the court must transfer the proceeding
                                                          against that defendant to another district if
    In each of [the Supreme Court cases                   the court is satisfied that so great a prejudice
    finding a presumption of prejudice],                  against the defendant exists in the
    we overturned a conviction obtained                   transferring district that the defendant
    in a trial atmosphere that was utterly                cannot obtain a fair and impartial trial
    corrupted by press coverage; our                      there.” Fed. R. Crim. P. 21(a). To satisfy
    decisions, however, cannot be made                    this standard, a defendant must establish that
    to stand for the proposition that juror               the alleged community bias is “so pervasive
    exposure to news accounts of the                      and prejudicial as to have created a
    crime alone presumptively deprives                    reasonable likelihood that a fair trial could
    the defendant of due process.                         not be conducted.” Sabhnani, 599 F.3d at
    Prominence does not necessarily                       233; see also United States v. Maldonado-
    produce prejudice, and juror                          Rivera, 922 F.2d 934, 966-67 (2d Cir. 1990)
                                                          (“In order to prevail on a motion under Rule
n.9 (“It is also far from clear whether, in a case        21(a), the defendant must show ‘a
of this nature, the news media and the ‘curious’          reasonable likelihood that prejudicial news
would have any interest whatsoever in the                 prior to trial will prevent a fair trial.’”
names, addresses, and places of employment of             (quoting Sheppard v. Maxwell, 384 U.S.
the members of the jury pool. The interest level          333, 363 (1966))); accord Campa, 459 F.3d
in this case is simply not that high.”).) Instead,        at 1150 (“To establish a presumption of
defendant argues that he cannot receive a fair            juror prejudice necessitating Rule 21 change
and impartial trial because anti-Hispanic
                                                          of venue, a defendant must demonstrate that
sentiments allegedly have pervaded the jury pool
and have made it impossible to empanel an                 (1) widespread, pervasive prejudice and
impartial jury. Nevertheless, although defendant          prejudicial pretrial publicity saturates the
has not based his motion upon pre-trial                   community, and (2) there is a reasonable
publicity, the Court finds the above-cited                certainty that the prejudice prevents the
precedents to be applicable in this context and           defendant from obtaining a fair trial.”). The
finds that, for the reasons stated herein,                ultimate determination of whether a fair trial
defendant’s motion to change venue must be                is unlikely “is committed to the district
denied.                                                   court’s discretion.” Maldonado-Rivera, 922
                                                     16
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F.2d at 967; see also Skilling, 130 S.Ct. at              from 2000 to 2009, as well as reports that
2913 n.11 (noting that “district-court calls              “many white Suffolk County residents”
on the necessity of transfer are granted a                blame illegal immigrants for a decline in
healthy measure of appellate-court respect”               local property values, Prado contends that
and citing examples of cases where district               the venue for his trial must be moved “in an
courts had exercised their discretion to both             effort to avoid jurors imposing vigilante
grant and deny venue transfer motions under               justice.” (Id. at 20-21 (internal quotation
Rule 21).                                                 marks and alterations omitted).) In support
                                                          of his argument, Prado also relies upon a
               B. Application 9                           study conducted by the Southern Poverty
                                                          Law Center which reported that “the influx
     In support of his motion, Prado argues               of Hispanics to Greater Long Island has
that he cannot receive a fair trial in this               fueled ‘nativist intolerance and hate violence
district because the recent influx of Hispanic            [that] had been festering for years in Suffolk
and Latino immigrants to Long Island, and                 County.’” (Id. at 14 (citation omitted).)
to Suffolk County in particular, allegedly                Finally, as evidence that “any Hispanic,
has turned Long Island into “a hotbed of                  charged with a crime of violence in Long
anti-Hispanic and anti-Latino rhetoric,                   Island, would have good reason to fear for
political pandering, and hate-based crime”                his or her ability to secure a full and fair trial
(Prado Mem. of Law at 13) which will make                 before an impartial jury” in the Eastern
it difficult, according to Prado, to pick a fair          District (id. at 22), Prado points to the
and impartial jury. Citing to several news                November 2008 killing of an Ecuadorian
articles containing anecdotal reports of                  immigrant in Patchogue, New York, a crime
assaults and incidents of harassment                      which prosecutors stated “was the
committed against Hispanic immigrants                     culmination of a campaign of violence that
                                                          targeted Hispanic immigrants.” (Id. at 20-21
9
  As an initial matter, the Court notes that Prado        (internal quotation marks and citation
has moved for a change of venue pursuant to               omitted).)
Rule 21(a), rather than on constitutional
grounds. However, even if Prado intended to                   The Court finds that these isolated,
raise a constitutional challenge to venue, such a         anecdotal examples of violence or
challenge would be denied for the reasons                 harassment over a nine-year period
outlined herein. Specifically, the Court finds            involving unrelated Hispanic immigrants
that the circumstances of this case do not present        who have no connection to this case are not
the “extreme case” where extraordinary local              sufficient to demonstrate that widespread
prejudice has prevented the fair trial of the             ethnic prejudice has saturated the
defendant. Cf. Skilling, 130 S.Ct. at 2915-17
                                                          community to such an extent that the
(despite magnitude of media attention, large
number of victims, and well-publicized decision
                                                          defendant cannot obtain a fair trial here.
of co-defendant to plead guilty, failure to               Indeed, this conclusion is underscored by
transfer venue of defendant in Enron trial did not        the fact that there are approximately eight
violate defendant’s constitutional rights where,          million people residing in the Eastern
inter alia, defendant was tried in the fourth most        District of New York, 10 and the handful of
populous city in the nation, press reports were           incidents cited by defendant therefore only
not kind but did not contain any confessions or
                                                          10
blatantly prejudicial information, and extensive            The Court takes judicial notice of this fact
screening of jurors found jurors who had no, or           pursuant to Rule 201 of the Federal Rules of
only attenuated, links to Enron).                         Evidence.
                                                     17
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involve a miniscule percentage of the                   spectacle of Rideau personally confessing in
population in this district. Stated otherwise,          detail to the crimes with which he was later
given the Hispanic population surge in                  to be charged,” and that, as such, “[a]ny
Nassau and Suffolk Counties in recent years,            subsequent court proceedings in a
the two-dozen incidents highlighted by                  community so pervasively exposed to such a
defendant, which occurred over the course               spectacle could be but a hollow formality.”
of nearly a decade and only in a handful of             Id. at 726.       As another example, in
towns, involved a mere fraction of the                  Sheppard, the Supreme Court held that
Hispanic population on Long Island and                  defendant Sam Sheppard was deprived of a
certainly do not support the conclusion                 fair trial where the trial judge failed to
either that prejudice among the community               protect him from “the massive, pervasive
should be presumed or that there is a                   and prejudicial publicity that attended his
reasonable likelihood that the defendant                prosecution.” 384 U.S. at 335. Although
cannot obtain a fair trial.                             the trial judge’s refusal to take precautions
                                                        against the influence of pretrial publicity
    As a threshold matter, as noted above,              might not have been enough, standing alone,
inherent prejudice in a community will be               to deprive Sheppard of his due process
presumed only in the “extreme case,” where,             rights, the Court noted that the trial court’s
for example, the trial atmosphere was                   rulings “must be considered against the
“utterly     corrupted”     by    prejudicial           setting in which the trial was held.” Id. at
          11
coverage.     Skilling, 130 S.Ct. at 2914-15            354-55. Specifically, the Court noted that:
(citations omitted). By way of example, in
Rideau v. Louisiana, 373 U.S. 723 (1963),                  [B]edlam reigned at the courthouse
Rideau was charged with armed robbery,                     during the trial and newsmen took
kidnapping, and murder. Id. at 724. Prior to               over practically the entire courtroom,
jury selection, Rideau’s taped confession—                 hounding most of the participants in
which showed Rideau flanked by the sheriff                 the trial, especially Sheppard. At a
and two state troopers—was shown on three                  temporary table within a few feet of
separate television broadcasts to audiences                the jury box and counsel table sat
ranging in size from 24,000 to 53,000. Id. at              some 20 reporters staring at
724-25. The parish in which Rideau was                     Sheppard and taking notes. The
tried had a population of approximately                    erection of a press table for reporters
150,000. Id. at 724. In reversing the                      inside the bar is unprecedented. . . .
conviction and holding that the denial of                  Having assigned almost all of the
Rideau’s motion to change venue violated                   available seats in the courtroom to
his due process rights, the Supreme Court                  the news media the judge lost his
observed that the people in the parish “had                ability to supervise that environment.
been exposed repeatedly and in depth to the                The movement of the reporters in
                                                           and out of the courtroom caused
11
   Because Prado has brought his motion prior to           frequent confusion and disruption of
the commencement of jury selection, the Court              the trial. And the record reveals
need only address whether defendant has                    constant commotion within the bar.
established the existence of presumed prejudice            Moreover, the judge gave the throng
in the community and need not reach the issue of           of newsmen gathered in the corridors
whether jury voir dire revealed the existence of           of the courthouse absolute free rein.
actual prejudice in the community. See Livoti, 8           Participants in the trial, including the
F. Supp. 2d at 249.                                        jury, were forced to run a gantlet of
                                                   18
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   reporters and photographers each                     cases.” Volpe, 42 F. Supp. 2d at 218
   time they entered or left the                        (citations omitted). For example, in United
   courtroom.      The total lack of                    States v. Salim, 189 F. Supp. 2d 93
   consideration for the privacy of the                 (S.D.N.Y. 2002), the defendant, who was of
   jury was demonstrated by the                         Arab ethnicity, had been charged in
   assignment to a broadcasting station                 connection with the stabbing of a corrections
   of space next to the jury room on the                officer and had moved to change the venue
   floor above the courtroom, as well as                of his trial due to the “widespread pretrial
   the fact that jurors were allowed to                 publicity surrounding September 11, 2001
   make telephone calls during their                    and the alleged prejudicial implications on
   five-day deliberation.                               the ability of Salim to receive a fair trial in
                                                        the Southern District of New York.” Id. at
Id. at 355. Accordingly, Sheppard’s case                94.     In support of his motion, Salim
involved more than mere pretrial publicity,             submitted the results of a public opinion
but instead involved a trial that was infected          survey and an affidavit from a political
with a “carnival atmosphere” that pervaded              science professor who had analyzed “the
the entire trial. Id. at 358.                           effect of pretrial publicity and emotions in a
                                                        post September 11, 2001 world on the
    Here, in contrast, defendant has                    instant trial.” Id. Significantly, the survey
presented only anecdotal evidence from a                revealed that, when asked about the ability
handful of sources reporting that Hispanic              of jurors in their district to be fair to a
immigrants in a few towns on Long Island                perceived Arab national, nearly half (49.6%)
were the targets of approximately two-dozen             of New Yorkers reported that they thought it
attacks and incidents of harassment over the            would be difficult for their fellow citizens to
course of nine years, from 2000 to 2009.                be fair. Id. at 95. When compared to survey
This evidence falls far short of establishing a         results averaged across five other districts,
presumption that the community has been so              the percentage of New Yorkers who had
saturated with anti-Hispanic bias that the              answered this question in the affirmative
defendants cannot obtain a fair trial here.             was 14.7% higher than the number of
                                                        individuals from other districts who had also
    In any event, to the extent the reports             answered affirmatively. Id. at 95 n.3.
cited by defendant demonstrate that some                Nevertheless, the professor acknowledged
prejudice exists within the community,                  that the survey data did “not provide the sort
defendant has failed to show that there is a            of clear and convincing empirical evidence
reasonable likelihood that this alleged                 that would mandate a change of venue” and,
prejudice would prevent the defendant from              thus, did not support a “demonstrably true
receiving a fair trial. In particular, the Court        link between the deleterious impact of the
finds that defendant has failed to establish            events of September 11, 2001 and Salim’s
that any alleged community bias is so                   fair trial rights.” Id. at 95. Consequently,
pervasive that an impartial jury could not be           the court concluded that the defendant did
selected following careful voir dire                    “not meet the high standard necessary to
questioning of the prospective jurors.                  establish presumed prejudice so that careful
Indeed, “[c]areful voir dire questioning is a           voir dire questioning and other methods
recognized and effective tool to uncover                aimed at garnering a fair trial are rendered
bias” and “thorough voir dire examinations              futile.” Id. at 96. In so holding, the district
have been used in [the Second Circuit] to               court recognized that the September 11
produce unbiased juries, even in high-profile
                                                   19
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attacks “had the unfortunate effect of                 similar circumstances and found a careful
increasing the prejudice and animosity                 individual voir dire examination to be the
towards Arab nationals nationwide,” but the            most effective tool to address potential
court nonetheless was “unwilling to find that          prejudice in the jury pool.” Id. at 254.
there exists the rare circumstance of so great
a prejudice in one of the largest and most                 As another example, the defendants in
racially, ethnically, and culturally diverse           Campa had been convicted of acting and
districts in the country that the Court simply         conspiring to act as unregistered Cuban
could not believe, as a matter of law, the             intelligence agents working within the
answers of jurors as to their ability to be            United States and for conspiracy to commit
impartial.” Id. at 97. Accordingly, the court          murder, and argued on appeal that “the
noted that “a careful and searching voir dire          pervasive community prejudice against the
and expanded jury pool are remedies used               Cuban government and its agents and the
routinely in high-profile cases and are                publicity surrounding the trial that existed in
appropriate here.” Id.                                 Miami prevented them from obtaining a fair
                                                       and impartial trial.” 459 F.3d at 1126. The
     Similarly, in United States v. Awadallah,         Tenth Circuit, sitting en banc, affirmed the
457 F. Supp. 2d 246 (S.D.N.Y. 2006),                   defendants’ convictions and held that the
Awadallah, a citizen of Jordan and a lawful            district court’s detailed and thorough voir
permanent resident of the United States, had           dire examination—which lasted for seven
been arrested as a material witness in                 days and covered topics such as the jurors
connection with the September 11 attacks               involvement in pro- and anti-Castro political
and subsequently was charged with two                  groups and immigration into the United
counts of perjury arising from his grand jury          States     from      Cuba—rebutted         any
testimony. Id. at 247-48. After his first trial        presumption of jury prejudice and was an
ended in a mistrial, Awadallah moved for a             effective means for screening potentially
change of venue, arguing that evidence that            biased jurors. Id. at 1147-48. Accordingly,
the jurors had tearfully recounted their               the Tenth Circuit held that defendants
personal experiences on September 11                   “failed to show that so great a prejudice
during deliberations, combined with the                existed against them as to require a change
“‘hostile deliberative environment’ during             of venue under Rule 21, in light of the
trial were indicia of ‘actual prejudice in             court’s effective use of prophylactic
2006,’ and that ‘a second trial in the greater         measures to carefully manage individual
metropolitan area, including New York and              voir dire examination of each and every
Connecticut, would be a violation of Mr.               panel member and its successful steps to
Awadallah’s constitutional rights.’” Id. at            isolate the jury from every extrinsic
249 (citations omitted). Although the court            influence.” Id. at 1150.
acknowledged that there was already
evidence, based on juror reports from the                  Accordingly, in cases where the
first trial, that “bias within the jury pool           arguments of alleged ethnic prejudice were
affected the deliberations,” the court rejected        stronger than those presented here—that is,
the defendant’s contention that jurors in              in cases brought against defendants of Arab
New York were “too close” to the events of             descent in post-September 11 New York and
September 11 to give Awadallah a fair trial.           against Cuban government spies in Miami—
Id. at 252-53. Instead, the court found that a         courts have nonetheless denied motions to
change of venue was not warranted and                  change venue and have held that careful voir
“agree[d] with the courts that have faced              dire questioning is an appropriate and
                                                  20
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effective method for screening potentially             anti-Latino sentiments have saturated the
biased jurors. In fact, one of the incidents to        community to such an extent that there is a
which Prado points in support of his motion            reasonable likelihood that defendant could
actually serves as evidence that a thorough            not obtain a fair trial in the Eastern District
voir dire examination of the jury panel is an          of New York. 12 Accordingly, defendant’s
effective tool to ensure the empanelment of            motion to change venue is denied. See
a fair and impartial jury. Specifically, Prado         United States v. Washington, 813 F. Supp.
argues that the November 2008 killing of               269, 274-74 (D.Vt. 1993), aff’d 48 F.3d 73,
Marcelo Lucero, an Ecuadorian immigrant,               78 (2d Cir. 1995) (noting that “‘there is no
demonstrates the existence of pervasive anti-          constitutional presumption of juror bias for
Hispanic sentiments in the community that              or against members of any particular racial
would prevent him from receiving a fair trial          or ethnic groups’” and denying motion to
in this district. (Id. at 20-21.) According to         change venue on grounds of racial bias
Prado, the existence of pervasive community            because “the issue of racial bias is best
prejudice is shown not only by the fact of             addressed at the time of voir dire” (quoting
the killing itself, but also by the fact that          Rosales-Lopez v. United States, 451 U.S.
jury selection in the resulting manslaughter           182, 190 (1981)) (additional citations
trial took two weeks to complete, with a
                                                       12
“stream of potential jurors disqualif[ying]                To the extent that Prado is seeking an
themselves because of their passionate                 intradistrict transfer from the Long Island
views about the county’s immigrants.” (Id.             courthouse to the Brooklyn courthouse, the
at 22.) However, Prado ignores the fact that,          Court notes that such a transfer is also
ultimately, a jury in that trial was empaneled         unwarranted. As a threshold matter, the jury
and the defendant was convicted of                     panel for trials held in either courthouse is
                                                       drawn from the entire Eastern District of New
manslaughter and gang assault, inter alia,
                                                       York, which is comprised not only of Nassau
and is currently appealing the imposition of           and Suffolk Counties, but also of the boroughs
a twenty-five year sentence. (Gov’t Reply at           of Brooklyn, Queens, and Staten Island.
19 n.4.) Similarly, the defendants in another          Defendant, however, has focused his arguments
assault case cited by Prado were also                  solely on alleged community prejudice in
convicted and are serving sentences of                 Suffolk County and, to a lesser extent, Nassau
twenty-five years and twenty-five years to             County, and he has not raised any argument that
life. (Id. (citing People v. Slavin, 807               anti-Hispanic or anti-Latino sentiments pervade
N.E.2d 259 (N.Y. 2004) and People v.                   the communities in Queens, Brooklyn, or Staten
Wagner, 811 N.Y.S.2d 125 (N.Y. App. Div.               Island. Thus, jurors will be summoned to the
2006)).)      Thus, far from showing that              Long Island courthouse from all parts of the
                                                       district, including those from which Prado does
empaneling a fair and impartial jury in this
                                                       not claim any alleged bias. In any event, for the
district is not possible, these case                   reasons stated supra, defendant has failed to
demonstrate the effectiveness of a careful             demonstrate any transfer—whether intradistrict
and thorough voir dire in both screening out           or interdistrict—is warranted under the
potentially biased jurors and selecting jurors         circumstances of this case. Accordingly, to the
who are able to put aside any personal biases          extent defendant is seeking a within-district
and render a verdict based solely upon the             transfer, the Court denies this motion and
evidence presented in court.                           stresses again that, given the large and diverse
                                                       nature of the jury pool in this district, any
   In sum, the Court finds that defendant              purported prejudice can be addressed and
has utterly failed to demonstrate that                 screened-out through a comprehensive voir dire
widespread and pervasive anti-Hispanic and             examination.
                                                  21
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omitted)); cf. United States v. Gaggi, 811            The Law Offices of Scott L. Fenstermaker,
F.2d 47, 51 (2d Cir. 1987) (“[W]e                     P.C., 100 Park Avenue, 16th Floor, New
established guidelines for a district court to        York, NY 10017.           Defendant Erick
follow when the problem of widely                     Alvarado is represented by Robert L. Moore,
disseminated publicity may prejudicially              Quesada & Moore, LLP, 128 Avon Place,
impact an ongoing criminal trial. The                 West Hempstead, NY 11552. Defendant
simple three-step process is, first, to               Elenilson Ortiz is represented by Robert P.
determine whether the coverage has a                  LaRusso, LaRusso & Conway LLP, 300 Old
potential for unfair prejudice, second, to            Country Rd., Suite 341, Mineola, NY
canvass the jury to find out if they have             11501.    Defendant Francisco Ramos is
learned of the potentially prejudicial                represented by Gary S. Villanueva, Gary S.
publicity and, third, to examine individually         Villanueva, Attorney at Law, 401
exposed jurors—outside the presence of the            Broadway, Room 1503, New York, NY
other jurors—to ascertain how much they               10013. Defendant Wilber Ayala-Ardon is
know of the distracting publicity and what            represented by Terrence P. Buckley, Esq.,
effect, if any, it has had on that juror’s            356 Veterans Memorial Highway, Suite 8N,
ability to decide the case fairly.”).                 Commack, NY 11725.

              III. CONCLUSION

    As set forth orally on the record in Court
and for the reasons set forth herein, the
government’s motion for an anonymous and
partially sequestered jury is granted and
defendant Prado’s motion for a change of
venue is denied.

               SO ORDERED.



               ______________________
               JOSEPH F. BIANCO
               United States District Judge


Dated: August 5, 2011
       Central Islip, New York

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The United States is represented by Loretta
E. Lynch, U.S. Attorney, Eastern District of
New York, 610 Federal Plaza, Central Islip,
New York 11722 by John J. Durham and
Raymond A. Tierney, Assistant U.S.
Attorneys. Defendant Giovanni Prado is
represented by Scott Lloyd Fenstermaker,
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